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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                             CHAPTER 11

MIDNIGHT MADNESS DISTILLING LLC                    CASE NO. 21-11750 (MDC)


                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on this 23rd day of June, 2021, true and correct

copies of the following were served via overnight UPS, ECF Notification and via email upon the

parties listed below:

         1.       Debtor’s Motion for Expedited Consideration Pursuant to Local Rule 5070-1(f) of

Certain First-day Motions and Related Relief.

         2.       Debtor’s Emergency Motion for Authority to Use Cash Collateral Pursuant to 11

U.S.C. § 363.

         3.       Motion of Debtor for Entry of Interim and Final Order Determining Adequate

Assurance of Payment for Future Utility Services.

         4.       Debtor’s Motion to Pay Pre-Petition Wages, Salaries and Other Related

Obligations.

         5.       Debtor’s Expedited Motion for Entry of an order: (I) Approving the Sale or Sale

of up to Substantially all of the Debtor’s Assets, and the Assumption and Assignment of Certain

Executor Contracts and Unexpired Leases, (II) Approving Certain Bidding Procedures,

Assumptions and Assignment Procedures, and the Form and Manner of Notice Thereof, (III)

Scheduling Hearings for Such Relief and (IV) Granting Related Relief.

         6.       Signed Order Approving Motion for Expedited Consideration of First Day

Motions.


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Dated: June 23, 2021                           /s/ Harry Giacometti
                                               Harry Giacometti, Esquire
                                               Flaster/Greenberg P.C.
                                               1835 Market Street, Suite 1050
                                               Philadelphia, PA 19103




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                                      SERVICE LIST
VIA UPS
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New York, NY 10285

Department of Treasury
Tax and Trade Bureau
1310 G St. NW
Washington, DC 20005

Express Employment
19 Jenkins Avenue
Suite 200
Lansdale, PA 19446

PA Dept of Revenue
Department 280946
Attn: Bankruptcy Division
Harrisburg, PA 17128-0946

ORE Rentals
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Quakertown, PA 18951

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Bankruptcy Specialist
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Jennifer L. Maleski, Esquire
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